Case 1:21-cv-04106-AMD-RER Document 1 Filed 07/22/21 Page 1 of 44 PageID #: 1




                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF NEW YORK

---------------------------------------------------------------
GILEAD SCIENCES, INC. and GILEAD                                :
SCIENCES IRELAND UC,                                            :
                                                                :   Case No. __________________
                                      Plaintiffs,               :
                                                                :
v.                                                              :   FILED EX PARTE AND UNDER SEAL
                                                                :   PURSUANT TO 15 U.S.C. § 1116(d)
SAFE CHAIN SOLUTIONS, LLC; PATRICK                              :
BOYD; CHARLES BOYD; WORLDWIDE                                   :
PHARMA SALES GROUP, INC. d/b/a                                  :
PHARMASALES.COM.; ADAM S. BROSIUS;                              :
BOULEVARD 9229 LLC; and ISHBAY                                  :
SHUKUROV,                                                       :
                                                                :
                                      Defendants.
--------------------------------------------------------------

                                                  COMPLAINT

         Plaintiffs Gilead Sciences, Inc. and Gilead Sciences Ireland UC (together, “Gilead” or

“Plaintiffs”), by and through their counsel, Patterson Belknap Webb & Tyler LLP, for their

complaint against Defendants Safe Chain Solutions, LLC (“Safe Chain”), Patrick Boyd, Charles

Boyd, Worldwide Pharma Sales Group, Inc. d/b/a/ Pharmasales.com (“Worldwide Pharma”),

Adam S. Brosius (“Brosius”), Boulevard 9229 LLC (“Boulevard”), and Ishbay Shukurov

(“Shukurov”) (collectively, “Defendants”) allege as follows:

                                      SUMMARY OF THE ACTION

                  1.       In this action, Gilead seeks to put an immediate and permanent stop to

Defendants’ knowing and willful sale, marketing, and distribution of counterfeit prescription

drugs. The counterfeits are of Gilead HIV medications: life-saving treatments for patients living

with HIV, and pre-exposure prophylactic medication that protects high-risk patients from HIV-1

infection when taken as prescribed. Defendants sold authentic-looking bottles of Gilead
                                                          1
Case 1:21-cv-04106-AMD-RER Document 1 Filed 07/22/21 Page 2 of 44 PageID #: 2




medication to distributors and pharmacies throughout the United States, including in New York

City, who in turn dispensed them to patients. But the tablets inside those bottles were not

Gilead’s HIV medication. They were completely different drugs. Most commonly, the

counterfeits were filled with high-dose tablets of a prescription antipsychotic with debilitating

side effects.

                2.     The counterfeiters use authentic Gilead bottles that at one point contained

authentic Gilead HIV medications. The tamper-evident seals of these authentic bottles had been

broken and their contents emptied. The counterfeiters inserted the foreign tablets into these

empty bottles, and then re-sealed the bottles. The counterfeits were thus engineered to resemble

a new, unopened, and authentic bottle of authentic Gilead HIV medication. Because federal law

requires that all prescription drugs be accompanied by a “pedigree” – a document tracking every

sale of the bottle from seller to seller, all the way back to the manufacturer – Defendants

distributed the counterfeits with falsified documentation fraudulently purporting to trace the

counterfeits to an authentic source.

                3.     The danger these counterfeits pose to patients is dire. The patients who

receive the counterfeits unwittingly miss their HIV treatment or falsely believe themselves to be

protected against HIV infection. The foreign drugs in the counterfeit bottles were never

prescribed by those patients’ doctors and could cause serious harm or death, through

contraindicated drug-drug interactions or the onset of unanticipated side effects such as loss of

consciousness while operating heavy machinery or driving.

                4.     Defendants willfully trafficked these dangerous counterfeits and

committed fraud to cover it up. Defendant Boulevard is one of Safe Chain’s several counterfeit

suppliers; it both knowingly sold counterfeit HIV medications to Safe Chan and created fake

                                                 2
Case 1:21-cv-04106-AMD-RER Document 1 Filed 07/22/21 Page 3 of 44 PageID #: 3




pedigrees to go with them. Safe Chain knew Boulevard was using fake pedigrees because Gilead

told it so, but Safe Chain kept buying counterfeits from Boulevard anyway. In fact, for at least

six months after receiving pharmacy and patient complaints about counterfeit HIV medications it

had sold, Safe Chain continued buying thousands of bottles of Gilead medication from the same

suppliers who sold it those counterfeits.

               5.      When Gilead opened an investigation after the earliest counterfeit incident

and contacted Safe Chain, Safe Chain for months refused to identify the suppliers who sold it the

counterfeit. When additional counterfeit reports came in and forced Safe Chain to identify its

suppliers, Safe Chain moved from stonewalling to outright fraud. Safe Chain created fake

pedigrees that fraudulently claimed to trace the counterfeits back to a Gilead authorized

distributor, and sent those new fake pedigrees to Gilead.

               6.      As Gilead’s investigation intensified, Safe Chain promised Gilead that it

had stopped all purchases from its previous counterfeit suppliers (i.e., the ones Gilead already

knew about), and said it was now purchasing from a new supplier who only purchased directly

from a Gilead authorized distributor. Safe Chain also represented that it had directly confirmed,

with the authorized distributor, that its supplier was in fact buying from that authorized

distributor. But Safe Chain said it would only identify this new mystery supplier if, among

several other conditions, Gilead first “announced” that Safe Chain had never faked a pedigree,

and then released all legal claims Gilead had against Safe Chain.

               7.      Safe Chain’s claims about its “new” supplier were all lies. Gilead learned

the identity of that new supplier through its independent investigation. This investigation

revealed that the supplier was another one of Safe Chain’s typical fly-by-night counterfeiters that

never registered as a distributor with the FDA and did not have licensure to sell drugs to Safe

                                                 3
Case 1:21-cv-04106-AMD-RER Document 1 Filed 07/22/21 Page 4 of 44 PageID #: 4




Chain. That supplier was not buying from a Gilead authorized distributor, and its pedigrees that

claimed to trace back to an authorized distributor were fake. Furthermore, Safe Chain never

contacted that authorized distributor to verify its supplier’s purchases, as Safe Chain falsely told

Gilead it had done. The authorized distributor has had no contact with Safe Chain and it has

never sold anything to Safe Chain’s supplier. Once again, Safe Chain was flagrantly lying to

throw off Gilead’s investigation and cover up the fact that it was continuing to traffic dangerous

counterfeit HIV medications.

               8.      Worldwide Pharma worked directly with Safe Chain to source, advertise,

and sell the counterfeit Gilead HIV medications to pharmacies. Worldwide Pharma is owned

and managed by Defendant Adam S. Brosius, who is under indictment for healthcare fraud,

conspiracy, and violations of the anti-kickback statute. Safe Chain and Worldwide Pharma

conspired to obtain Gilead HIV medications from illegitimate sources, including by setting up a

deceptive “pass-through” scheme to hide the identities of unlicensed suppliers, and to market

counterfeit products to pharmacies where they were dispensed to unsuspecting patients.

               9.        In this action, Gilead seeks injunctive relief, including a seizure at

certain Defendants’ premises, in order to put an immediate stop to the sale of these dangerous

counterfeit medications. Gilead also seeks other injunctive and monetary relief against all

Defendants for trademark infringement in violation of Section 32 of the Lanham Act (15 U.S.C.

§ 1114); false descriptions and false designations of origin in commerce in violation of Section

43 of the Lanham Act (15 U.S.C. § 1125); trademark dilution in violation of Section 43 of the

Lanham Act (15 U.S.C. § 1125) and New York General Business Law § 360-1; deceptive

business practices in violation of New York General Business Law § 349; and common-law

unjust enrichment and unfair competition.

                                                  4
Case 1:21-cv-04106-AMD-RER Document 1 Filed 07/22/21 Page 5 of 44 PageID #: 5




                                         THE PARTIES

               10.    Plaintiff Gilead Sciences, Inc. is a public corporation organized under the

laws of the State of Delaware, with more than 12,000 employees. Its principal place of business

is 333 Lakeside Drive, Foster City, California 94404. Gilead develops and markets a large

portfolio of lifesaving medications, including drugs for the treatment or prevention of HIV.

Gilead is the registered owner of certain well-established and famous registered trademarks that

appear on the packaging, tablets, and package inserts of certain genuine HIV medications.

               11.    Plaintiff Gilead Sciences Ireland UC (“Gilead Ireland”) is a private

unlimited company organized under the laws of Ireland, with its principal place of business at

IDA Business & Technology Park, Carrigtohill, Co. Cork, Ireland. Gilead Sciences, Inc. is the

ultimate parent of Gilead Ireland. Gilead Ireland is the registered owner of certain well-

established and famous registered trademarks that appear on the packaging, tablets, and

instructional inserts of certain genuine HIV medications.

               12.    Gilead Sciences, Inc. and Gilead Ireland (together, “Gilead”) are the

collective owners of a number of well-established and famous registered trademarks (the “Gilead

Marks”) that appear on genuine HIV medications. A complete list of these trademarks is

depicted at Exhibit A hereto. Gilead also owns and uses distinctive packaging (the “Gilead

Trade Dress”) to distinguish its HIV products in the marketplace, which is depicted at Exhibit B

hereto.

               13.    Defendant Safe Chain Solutions, LLC (“Safe Chain”) is a Delaware

limited liability corporation with a principal place of business in Cambridge, Maryland.

               14.    Defendant Patrick Boyd is an individual residing in Maryland. Together

with his brother Charles, Patrick Boyd is a founder, owner, and managing principal of Safe


                                                 5
Case 1:21-cv-04106-AMD-RER Document 1 Filed 07/22/21 Page 6 of 44 PageID #: 6




Chain. Patrick Boyd managed, supervised, ratified, and/or personally participated in the

trafficking of counterfeit Gilead HIV medications. Patrick Boyd directly financially benefitted

from the counterfeiting and had the ability to stop it, but did not do so.

               15.     Defendant Charles Boyd is an individual residing in Maryland. Together

with his brother Patrick, Charles Boyd is a founder, owner, and managing principal of Safe

Chain. Charles Boyd serves as CEO of Safe Chain. Charles Boyd managed, supervised, ratified,

and/or personally participated in the trafficking of counterfeit Gilead HIV medications. Charles

Boyd directly financially benefitted from the counterfeiting and had the ability to stop it, but did

not do so.

               16.     Defendant Worldwide Pharma Sales Group, Inc. d/b/a Pharmasales.com

(“Worldwide Pharma”) is a Delaware corporation with a principal place of business in Delray

Beach, Florida.

               17.     Defendant Adam S. Brosius (“Brosius”) is an individual residing in the

United States. Brosius is the founder, owner, and principal of Worldwide Pharma. Brosius

managed, supervised, ratified, and/or personally participated in the trafficking of counterfeit

Gilead HIV medications.

               18.     Defendant Boulevard 9229 LLC (“Boulevard”) is a New York limited

liability corporation with a principal place of business in Rego Park, Queens, New York.

               19.     Defendant Ishbay Shukurov (“Shukurov”) is an individual residing in

Brooklyn, New York. Shukurov is the owner and sole proprietor of Boulevard. Shukurov

managed, supervised, ratified, and/or personally participated in the trafficking of counterfeit

Gilead HIV medications.




                                                  6
Case 1:21-cv-04106-AMD-RER Document 1 Filed 07/22/21 Page 7 of 44 PageID #: 7




                                 JURISDICTION AND VENUE

                20.    This Court has subject matter jurisdiction over this action pursuant to 15

U.S.C. §§ 1121(a), 1331, 1338, and 1367 and general principles of ancillary and pendent

jurisdiction.

                21.    The Court has personal jurisdiction over each of the Defendants because

each of the Defendants has sufficient minimum contacts with New York and with this District so

as to render the exercise of jurisdiction by this Court permissible under traditional notions of fair

play and substantial justice. Among other things, Safe Chain and Worldwide Pharma sold, and

conspired together to sell, counterfeits to pharmacies in New York City. Moreover, Defendant

Boulevard is located in Queens, and Defendant Shukurov resides in Brooklyn. Boulevard and

Shukurov sold counterfeits to Safe Chain in this District, and Safe Chain purchased counterfeits

from Boulevard and Shukurov in this District.

                22.    Venue in this judicial district is proper pursuant to 28 U.S.C. § 1391(b)

because Boulevard’s offices are located in this District, because Shukurov lives in this District,

because Safe Chain and Worldwide Pharma conspired with Boulevard and Shukurov to purchase

and ship counterfeits from this District, and because a substantial part of the events giving rise to

Gilead’s claims occurred in this District.

                                  FACTUAL ALLEGATIONS

A.      Gilead’s HIV Medications

                23.    For more than three decades, Gilead has strived to create a healthier world

for all by delivering innovative therapeutics that aim to prevent, treat, or cure life-threatening

diseases. Gilead relentlessly pursues advancements in science with the goal of bringing to

patients around the world treatments that improve care in areas of unmet medical needs.


                                                  7
Case 1:21-cv-04106-AMD-RER Document 1 Filed 07/22/21 Page 8 of 44 PageID #: 8




               24.       Gilead has transformed care for people living with HIV and hepatitis C,

developing pioneering medicines including the world’s first single tablet regimen to treat HIV,

the first prophylactic medicine to prevent HIV infection, and four hepatitis C therapies.

               25.       BIKTARVY® is a complete, one-pill, once-a-day prescription medication

used to treat HIV. Developed by Gilead and first approved by the FDA in 2018, BIKTARVY®

is a single-tablet drug combination medicine for the treatment of HIV-1 infection, combining the

unboosted integrase strand transfer inhibitor (INSTI) bictegravir with Gilead’s dual nucleoside

reverse transcriptase inhibitor (NRTI) backbone of emtricitabine and tenofovir alafenamide, the

components of Gilead’s DESCOVY®.

               26.       BIKTARVY® has a demonstrated long-term efficacy and safety profile,

has few drug interactions and side effects, and a high barrier to developing drug resistance.

               27.       Although BIKTARVY® does not cure HIV, when taken every day as

prescribed, it can lower the amount of virus in a patient’s blood to undetectable levels. In

addition to halting the progression of HIV, research shows that having undetectable levels of the

virus prevents transmission of HIV through sex, protecting a patient’s sexual partners from

possible transmission.

               28.       BIKTARVY® can also help increase the number of a patient’s CD4 T-

cells, which are an important part of a person’s immune system. HIV attacks and destroys CD4

T-cells, which decreases a patient’s ability to fight off other infections and increases the risk of a

patient contracting an opportunistic infection, which could lead to serious illness or death.

               29.       One of the most significant developments in the fight against HIV is the

development of drugs known as pre-exposure prophylaxis, or PrEP: a method of HIV prevention




                                                  8
Case 1:21-cv-04106-AMD-RER Document 1 Filed 07/22/21 Page 9 of 44 PageID #: 9




whereby individuals who are HIV-negative but at-risk for HIV infection proactively take

medication on an ongoing basis to decrease their risk of acquiring HIV.

               30.    DESCOVY® is a therapy developed and manufactured by Gilead that can

be taken for PrEP. The drug comes in the form of a tablet. The FDA-recommended dosage is

one tablet per day.

               31.    When taken as indicated, DESCOVY® is highly effective at preventing

HIV-1 infection in individuals exposed to the virus.

               32.    DESCOVY® was approved by the FDA for PrEP in 2019. It has been

instrumental in preventing the spread of HIV in areas in the United States where there is a high

prevalence of HIV.

               33.    Gilead has used and is currently using the Gilead Marks and the Gilead

Trade Dress in commerce in connection with its sale of HIV medications, and plans to continue

such use in the future. Gilead prominently displays the Gilead Marks in its advertising and

promotional materials.

               34.    Gilead has engaged and continues to engage in activities designed to

promote its HIV medications and the business and goodwill associated with its trademarks, and

to expand the use and reputation of its trademarks, trade dress, logos, copyrights, and property

throughout the United States. All of these trademarks and trade dress symbolize business

goodwill of Gilead and are invaluable assets to Gilead.

B.     Defendants’ Counterfeit HIV Medications

               35.    Gilead learned of Defendants’ counterfeiting operation through a series of

patient and pharmacy complaints that were reported to Gilead. In the past several months,

Gilead has received multiple complaints from patients and pharmacies about bottles of Gilead


                                                9
Case 1:21-cv-04106-AMD-RER Document 1 Filed 07/22/21 Page 10 of 44 PageID #: 10




 HIV medications that were sold by Safe Chain and that, when opened, were actually filled with

 an entirely different drug.

                36.     Gilead was not able in all instances to recover the counterfeit bottles of

 HIV medications that were the subject of these patient or pharmacy complaints. But Gilead has

 to date been able to acquire several bottles of counterfeit HIV medications that Safe Chain sold

 to U.S. pharmacies. Gilead’s in-house experts examined the bottles and their contents and

 determined the products to be counterfeit. Gilead also sent the bottles to an outside laboratory

 who performed analyses of the bottles, the tamper-proof seals and the adhesives used to affix

 them, and the tablets inside the bottles. The outside lab also confirmed that the HIV medications

 sold by Safe Chain were counterfeit.

                37.     Authentic Gilead HIV medication is FDA approved for sale only in

 Gilead’s original, sealed manufacturer bottles: it cannot be sold or dispensed in generic

 pharmacy vials. The lip of each authentic bottle is covered with a foil tamper-evident seal,

 which is covered by a screw-on lid. Safe Chain’s counterfeits appeared to use authentic Gilead

 bottles that once contained authentic Gilead medication. The original foil on the bottles had been

 stripped away, the authentic medication removed and replaced with foreign medication, and then

 a replica of the tamper-evident seal was used to re-seal the bottle. Traces of the original tamper-

 proof seal remained in the grooves of the counterfeit bottles and were visually distinguishable

 from the replica seal. Lab testing confirmed that both the replica seal and the adhesive used to

 affix it did not match the original, authentic foil and adhesive used on authentic Gilead product.

                38.     The outside laboratory’s testing also confirmed what was apparent to the

 medical professionals and in-house experts who examined the counterfeits: that the tablets inside

 the bottle were not the Gilead medication listed on the bottle. In one instance, the counterfeit

                                                  10
Case 1:21-cv-04106-AMD-RER Document 1 Filed 07/22/21 Page 11 of 44 PageID #: 11




 bottle contained a generic over-the-counter analgesic. But the most common contents of the

 tested counterfeits was quetiapine furmarate, a non-Gilead medication that is marketed under the

 brand name SEROQUEL XR® and is also available as a generic.

                39.     Quetiapine is a prescription anti-psychotic medication with a number of

 known serious side effects. Quetiapine very commonly causes a strong sedated state or

 drowsiness. As noted on the FDA labelling for the drug, these effects are especially acute for

 first-time users of the drugs. One patient who unknowingly took SEROQUEL XR® after

 receiving a counterfeit bottle of BIKTARVY® reported that the patient could not speak or walk

 afterwards. Patients who are prescribed quetiapine are warned against driving or operating

 machinery.

                40.     Quetiapine also poses serious dangers to patients with common health

 conditions, such as high blood pressure, diabetes, and low white blood counts, whose conditions

 must be closely monitored while taking quetiapine.

                41.     Because of its potency, the FDA-approved dosage recommends starting

 labelling for quetiapine recommends that some new patients be given a small dose – 50

 milligrams a day for many conditions – that can be increased over time as the patient’s physician

 tracks the side effects and monitors the patients’ reaction to the drug. The counterfeit Gilead

 HIV medication contained 300-milligram tablets of quetiapine.

                42.     Of course, patients who ingest quetiapine from a counterfeit bottle of HIV

 medication have no idea that they are taking a medication with these side effects and receive no

 warning of the possible consequences of doing so. They have no idea they are not supposed to

 drive, operate heavy machinery, or engage in other activities where sedation or drowsiness are

 dangerous, and as a result are placed in grave danger of injury or death.

                                                 11
Case 1:21-cv-04106-AMD-RER Document 1 Filed 07/22/21 Page 12 of 44 PageID #: 12




                 43.     Patients who receive the Defendants’ counterfeits do not receive their

 prescribed HIV medications. For patients treating HIV infection, it is very important that the

 patient take the Gilead medication once a day, every day. If a patient skips doses for even a

 short period of time, the patient faces the risk that the patient’s viral load – that is, the amount of

 HIV in their blood – will increase. Viral rebound can have severe consequences. Over time, it

 can weaken the patient’s immune system and increase the possibility of infections; it can result

 in progression of the disease and lead to the development of AIDS; and it can make patients

 more likely to infect their sexual partners.

                 44.     Patients taking DESCOVY for PrEP® must also take the medication

 regularly to receive the prophylactic benefits of the drug. DESCOVY for PrEP® is

 recommended only for individuals at a risk for HIV infection. A patient who unknowingly

 discontinues their DESCOVY® treatment because they have received counterfeit medication puts

 themselves at high risk for contracting HIV while still believing they are being protected from

 infection.

         C.      Defendants’ Counterfeit Pedigrees

                 45.     Under the Drug Supply Chain Security Act (“DSCSA”), 21 U.S.C. §§

 360eee et seq., every sale or transfer of a prescription drug must be accompanied with a record

 showing the chain of all sales or transfers of that drug, going back to the manufacturer. In the

 industry, this is known as the drug’s “pedigree,” and is also referred to as the drug’s DSCSA

 documentation or “T3” documentation – standing for the three “Ts” of transaction information,

 transaction history, and transaction statement that must be included with the pedigree.




                                                   12
Case 1:21-cv-04106-AMD-RER Document 1 Filed 07/22/21 Page 13 of 44 PageID #: 13




                 46.    The FDA’s website states that the purpose of the DSCSA’s tracing

 requirements is to “enhance FDA’s ability to help protect consumers from exposure to drugs that

 may be counterfeit.”

                 47.    Counterfeit bottles of HIV medications cannot have valid pedigrees. In

 order to sell their counterfeit HIV medications, the Defendants created and utilized fake

 pedigrees that fraudulently represented that the drug could be traced back to an authentic sale

 from Gilead.

                 48.    Gilead obtained the purported pedigrees for several counterfeit bottles of

 Gilead HIV medications sold by Safe Chain. Those pedigrees were also fake, many of them

 obviously so.

                 49.    In the United States, the only distributors to which Gilead sells its HIV

 medications are Gilead authorized distributors. This is a well-known fact in the industry, and

 consistent with the practices of other major pharmaceutical manufacturers. Gilead has sixteen

 U.S. authorized distributors for HIV medications, and their names are publicly posted on

 Gilead’s website. Safe Chain has expressly acknowledged that it is aware that Gilead sells HIV

 medications only through those Gilead authorized distributors.

                 50.    Many of the pedigrees for the counterfeits contained an immediately

 detectable falsehood: that Gilead had initially sold the medication to a distributor other than an

 authorized distributor. Other pedigrees for the counterfeits did list an authorized distributor as

 the first purchaser of the drug, and then claimed the drug was sold from there to one or more

 distributors before it was purchased by Safe Chain. Gilead was able to confirm from its internal

 records that it had not sold the specific lots of the medication to the authorized distributor listed




                                                   13
Case 1:21-cv-04106-AMD-RER Document 1 Filed 07/22/21 Page 14 of 44 PageID #: 14




 on the pedigree. Gilead also confirmed with the authorized distributors that the pedigrees were

 false.

                 51.     While Gilead has only been able to recover a sample of the counterfeits

 that have been reported to it, as part of its investigation Gilead has received copies of pedigrees

 for thousands of bottles of Gilead HIV medications trafficked by the Defendants in this action.

 Those pedigrees are fake: they fraudulently list an initial sale made by Gilead that did not occur.

 Every one of those bottles is an illegitimate product and pursuant to the DSCSA must be

 quarantined and cannot lawfully be sold.

                 52.     Every authentic bottle of HIV medications that Gilead sells comes with a

 pedigree that accurately discloses when and to whom Gilead sold that bottle. The pedigree is

 part of the product that Gilead sells. For Gilead, the pedigrees are anti-counterfeiting measures

 and also play other important internal quality-control functions. For the distributors, pharmacies,

 and patients that buy Gilead’s HIV medications, authentic pedigrees that accurately disclose the

 original sale of the product are an important feature of Gilead’s products that guarantee the

 medication’s authenticity and safety. Bottles of Gilead medication that have fake or altered

 pedigrees, such as those that that do not list Gilead’s original, authentic sale of the medication,

 are materially different from authentic Gilead product as Gilead sells it in U.S. commerce.

          D.     Safe Chain’s Willful Sale of Counterfeit HIV Medications After Being
                 Repeatedly Informed It Was Selling Counterfeits

                 53.     Safe Chain holds itself out to be a legitimate pharmaceutical distributor,

 specializing in HIV medications among a few other areas. In reality, Safe Chain is a willful

 trafficker of counterfeit HIV medications, and has knowingly put an untold number of patients’

 health and lives at risk in order to make an illicit profit.



                                                    14
Case 1:21-cv-04106-AMD-RER Document 1 Filed 07/22/21 Page 15 of 44 PageID #: 15




                54.     Over the past several months, Gilead received report after report of

 counterfeit Gilead HIV medications from pharmacies and customers, all of which Safe Chain had

 sold to the dispensing pharmacy. Gilead initially treated Safe Chain as an unwitting distributor

 of counterfeits, and attempted to work cooperatively with the company to address the problem.

 Legitimate distributors who learn they have sold counterfeits – let alone bottles of counterfeit

 HIV medications that actually contain a high-dose antipsychotic – will do everything they can to

 ensure they do not sell any more counterfeits, and assist the manufacturer in tracking down the

 source of the counterfeits. Safe Chain did the opposite.

                55.     In response to Gilead’s communications, Safe Chain engaged in a

 campaign of delay and obfuscation, hiding its suppliers and refusing to provide Gilead with

 crucial information about the counterfeits. Meanwhile, Safe Chain continued to buy thousands

 of bottles of Gilead medication, all of them with fake pedigrees, from the same counterfeit

 suppliers, even after Safe Chain had been informed that these suppliers were selling counterfeit

 Gilead HIV medications.

    1.   Safe Chain Is Notified It Is Selling Counterfeits but Obstructs Gilead’s
         Investigation and Continues Purchasing from Its Counterfeit Supplier

                56.     In August 2020, White Cross Pharmacy, located in California, reported to

 Gilead and Safe Chain that a patient had returned a bottle of BIKTARVY® that had foreign

 medication inside. The pharmacy had purchased that counterfeit from Safe Chain. Knowing that

 the pharmacy had already reported the counterfeit to Gilead, Safe Chain’s co-founder Charles

 Boyd wrote to Gilead to disclose White Cross Pharmacy’s report. On September 11, 2020,

 Gilead asked Safe Chain to identify who had supplied this counterfeit to Safe Chain, but Safe

 Chain refused to do so.



                                                 15
Case 1:21-cv-04106-AMD-RER Document 1 Filed 07/22/21 Page 16 of 44 PageID #: 16




                57.     In November 2020, Gilead again asked Safe Chain to provide the pedigree

 and identify the supplier from whom Safe Chain had purchased the counterfeit. Safe Chain

 refused, stating only that it had purchased the counterfeits from an “authorized trading partner.”

 Gilead responded that was “wholly inadequate,” noting that Gilead needed that information “to

 determine how this illegitimate product made its way into the supply chain.”

                58.     Between August 2020 and early February 2021, Gilead asked Safe Chain

 on at least five different occasions to produce the pedigree for the counterfeit it sold to White

 Cross Pharmacy, but each time Safe Chain either refused or ignored the request.

                59.     In October 2020, Safe Chain received another report of counterfeit

 BIKTARVY® from a different pharmacy – The Medicine Shoppe in Maryland. The counterfeit

 BIKTARVY® bottle was actually filled with 300 mg tablets of SEROQUEL XR®. But this time,

 Safe Chain knew that the pharmacy had not immediately reported the counterfeit to Gilead.

 Hoping to avoid detection, Safe Chain tried to dissuade the pharmacy from reporting the

 incident. In an email to The Medicine Shoppe, Safe Chain’s Director of Compliance suggested

 that instead of “contact[ing] Gilead,” the pharmacy should “return[] it to us, and then let us send

 it back.” Safe Chain never did report this counterfeit to Gilead.

                60.     Gilead only learned about this October 2020 counterfeit report because in

 February 2021, The Medicine Shoppe received from a patient another report of counterfeit

 BIKTARVY® that the pharmacy had purchased from Safe Chain. Gilead promptly interviewed

 The Medicine Shoppe. During that interview, the pharmacy disclosed its October 2020

 counterfeit report to Safe Chain, stating that it had returned the counterfeit bottle to Safe Chain

 but heard nothing back.




                                                  16
Case 1:21-cv-04106-AMD-RER Document 1 Filed 07/22/21 Page 17 of 44 PageID #: 17




                61.    When Gilead confronted Safe Chain about the October 2020 counterfeit

 report from The Medicine Shoppe, Safe Chain claimed it had reported that incident to Gilead,

 and that Gilead was at fault for not responding to Safe Chain’s report. That claim was false.

 Gilead immediately demanded, and later repeated its demand, that Safe Chain substantiate its

 claim that it had reported the October 2020 incident. Safe Chain never provided any such

 corroboration, because it never made any such report to Gilead.

                62.    Each of the three known examples of counterfeit BIKTARVY® that were

 reported to Safe Chain between August 2020 and early February 2021 had been supplied to Safe

 Chain by Gentek LLC (“Gentek”), located in Stamford, Connecticut. During that period, Safe

 Chain worked to conceal the counterfeit reports from Gilead, and when Gilead learned about

 them, refused to provide pedigrees or identify its counterfeit supplier. During that same time

 period – from the time Safe Chain was first directly told that the Gilead medication it sourced

 from Gentek was counterfeit to the time Safe Chain revealed Gentek’s identity to Gilead – Safe

 Chain purchased over 8,000 bottles of Gilead HIV medications from Gentek for over $20

 million, including over 3,000 bottles of BIKTARVY®, all while knowing that Gentek was

 selling dangerous counterfeits.

    2.   Safe Chain Provides Fake Pedigrees to Gilead

                63.    Realizing that Gilead’s counterfeit investigation was escalating and that it

 would not be possible to stonewall and obstruct the investigation indefinitely, on February 22,

 2021, Safe Chain finally provided the pedigree for the counterfeit BIKTARVY® that White

 Cross Pharmacy had reported six months prior. Safe Chain also provided pedigrees – one from

 Safe Chain and one from its supplier – for the two counterfeit bottles of BIKTARVY® that were

 reported by The Medicine Shoppe. Each of the pedigrees indicated that Safe Chain had


                                                 17
Case 1:21-cv-04106-AMD-RER Document 1 Filed 07/22/21 Page 18 of 44 PageID #: 18




 purchased the counterfeit from Gentek. Each pedigree also indicated that Gentek had purchased

 the counterfeit from Drogueria Betances, a Gilead authorized distributor located in Puerto Rico.

                64.     Gilead determined that those pedigrees were fake. Gilead did not sell the

 lot numbers listed on the pedigrees to Drogueria Betances. And Gilead confirmed with

 Drogueria Betances that Gentek was not one of its customers.

                65.     Gilead has recently learned that Safe Chain not only provided Gilead with

 fake pedigrees, but that Safe Chain altered those pedigrees by adding false information

 immediately before sending them to Gilead.

                66.     Gilead recently obtained from Safe Chain’s customer, The Medicine

 Shoppe, the pedigree that Safe Chain sent to the Medicine Shoppe in the normal course of

 business – i.e., at the time it sold the counterfeit bottle to the pharmacy. The pedigree that Safe

 Chain sent to its customer and the pedigree it sent to Gilead should, of course, be identical. They

 are not, as shown in the figure below:

  Pedigree that Safe Chain sent to pharmacy            Pedigree that Safe Chain sent to Gilead




                                                  18
Case 1:21-cv-04106-AMD-RER Document 1 Filed 07/22/21 Page 19 of 44 PageID #: 19




                 67.    The pedigree that Safe Chain originally sent to The Medicine Shoppe

 listed an initial sale directly from Gilead to Gentek – an obvious red flag, because Gentek is not a

 Gilead authorized distributor. That original pedigree also failed to fill in basic details, such as

 Gilead’s address and the date and reference number for the supposed initial sale from Gilead to

 Gentek.

                 68.    But the pedigree that Safe Chain later sent to Gilead had an additional

 transaction added to the sales chain: a purported initial sale from Gilead to Drogueria Betances,

 the Gilead authorized distributor. Moreover, the information missing on the original pedigrees –

 Gilead’s address, date of initial sale, and reference number for initial sale – are now filled in

 (fraudulently, because those initial sales never happened). In other words, the original pedigrees,

 which were immediately recognizable as fake, had been altered to include information that was

 also fake, but was harder to recognize as such.

                 69.    Safe Chain sent both sets of pedigrees as PDF files that contain metadata

 showing the date they were created. Safe Chain created the pedigree it sent to The Medicine

 Shoppe on January 8, 2021, the day it sold the bottles to the pharmacy, as would be expected.

 But Safe Chain created the altered pedigree on February 19, 2021 – meaning the altered pedigree

 was created outside the normal course of business, and just days before Safe Chain sent it to

 Gilead.

    3.     Safe Chain’s Willful Purchases of Counterfeits from Defendant Boulevard

                 70.    On October 5, 2020, Safe Chain contacted Gilead with a cryptic request to

 verify the expiration date on a bottle of BIKTARVY®. Gilead responded by asking Safe Chain

 why it was inquiring about the product and requesting more information and photographs of the

 bottle. Safe Chain did not provide photographs or otherwise explain what had prompted the
                                                   19
Case 1:21-cv-04106-AMD-RER Document 1 Filed 07/22/21 Page 20 of 44 PageID #: 20




 inquiry, but it did send a purported pedigree document for the bottle. The pedigree in question

 claimed an initial sale of BIKTARVY® from Gilead to a “drug co-op,” and then to Defendant

 Boulevard, and then to Safe Chain. Gilead responded on October 9, 2020 that the transaction

 history was incorrect, and that the drugs on the pedigree “should be treated as an illegitimate

 product and quarantined and should be reported to the FDA.” Safe Chain did not respond to

 Gilead’s e-mail.

                71.     In March 2021, Gilead received two new complaints from pharmacies –

 one in New York City and the other in Washington D.C. – about counterfeit bottles of

 BIKTARVY® and DESCOVY® that the pharmacies had purchased from Safe Chain. The

 pharmacy in Washington D.C. provided the pedigree for the counterfeit bottle of DESCOVY®,

 which indicated that Safe Chain had purchased it from Defendant Boulevard. Gilead and its

 outside lab tested both bottles and confirmed they were counterfeit.

                72.     On March 23, 2021, Gilead, through outside counsel, wrote to Safe

 Chain’s counsel detailing the two new complaints. Gilead demanded that Safe Chain quarantine

 all Gilead product in its inventory and provide all documentation, including pedigrees, of all

 Gilead-branded medication it had purchased since 2020.

                73.     Safe Chain responded on March 26, 2021. Safe Chain refused to

 quarantine its Gilead product in inventory or to provide documentation for all its purchases of

 Gilead product. Instead, Safe Chain attempted to blame the counterfeiting on Gentek, and

 claimed that it had ceased all purchases from Gentek.

                74.     On March 29, 2021, Safe Chain wrote again to disclose that the same day

 it sent its previous letter, it received a report from a pharmacy customer in Washington D.C. that

 it had purchased two counterfeit bottles of BIKTARVY®, each with different lot numbers, from

                                                 20
Case 1:21-cv-04106-AMD-RER Document 1 Filed 07/22/21 Page 21 of 44 PageID #: 21




 Safe Chain. Safe Chain stated it was sending samples of those counterfeits to Gilead, and

 attached their pedigrees, which showed Safe Chain acquired one of the counterfeits from

 Boulevard.

                75.     The pedigrees showed that Safe Chain purchased these two counterfeits

 from Boulevard months after Gilead informed Safe Chain that Boulevard was using fake

 pedigrees to sell illegitimate Gilead medication and instructed Safe Chain to quarantine the

 medication and report it to the FDA. Instead, Safe Chain continued buying from Boulevard and

 subsequently sold dangerous counterfeits supplied by Boulevard to pharmacies, where they were

 dispensed to unsuspecting patients, placing the patients’ health and lives at risk.

    4.   Safe Chain’s Willful Sales of Counterfeits from Rapids Tex

                76.     As alleged above, on March 29, 2021, Safe Chain informed Gilead of two

 additional counterfeit reports from a pharmacy, one bottle of which Safe Chain purchased from

 Boulevard. Safe Chain purchased the other counterfeit from a Texas distributor, Mr. Unlimited

 LLC (“Mr. Unlimited”) who in turn had purchased it from another Texas distributor, Rapids Tex

 Wholesales Corp. (“Rapids Tex”).

                77.     Safe Chain’s March 29 letter was the first time Gilead learned that Safe

 Chain was buying counterfeits from Mr. Unlimited and Rapids Tex. Safe Chain had sold that

 particular counterfeit to a Washington D.C. pharmacy on March 22, and the pharmacy reported it

 as counterfeit on March 26. But Safe Chain knew it was buying counterfeits from Mr. Unlimited

 and Rapids Tex well before that.

                78.     On or before March 9, 2021, Safe Chain received what it identified as

 counterfeit bottles of BIKTARVY® from Mr. Unlimited, which had purchased them from Rapids

 Tex. Safe Chain never reported those counterfeits to Gilead, nor did it quarantine them as


                                                  21
Case 1:21-cv-04106-AMD-RER Document 1 Filed 07/22/21 Page 22 of 44 PageID #: 22




 required by the DSCSA. Instead, Safe Chain returned the bottles to Rapids Tex for a refund.

 Safe Chain’s co-conspirator, Defendant Brosius of Worldwide Pharma, explained in an email:

                There are 3 LOTS of Biktarvy from Gilead that have proven to be
                bad/counterfeit. . . . our legal counsel told us we could not
                take/receive these lots of Biktarvy. There were 3 units on the prior
                invoice. Gilead and the California BOP [i.e., Board of Pharmacy]
                have deemed those 3 lots as ‘bad.’ We explained to Rapids Tex and
                they understood. thanks.

 Rapids Tex responded by announcing “we will be shipping out today another order.”

                79.        Receiving counterfeit Gilead medication from Rapids Tex did not deter

 Safe Chain and Worldwide Pharma from continuing to buy several hundred more bottles of

 purported Gilead medication, all with fraudulent pedigrees and at too-good-to-be true pricing,

 through these entities.

                80.        Rapids Tex’s next shipments contained more counterfeit BIKTARVY®

 with new lot numbers – the confirmed counterfeit BIKTARVY® that Safe Chain reported to

 Gilead on March 29, plus two more tested and confirmed counterfeits that were reported by a

 different pharmacy the following month. These confirmed counterfeits are the ones that were

 reported to the dispensing pharmacy and to Safe Chain, and which Safe Chain chose to report to

 Gilead. There are almost certainly many other counterfeits that were never reported to Gilead.

    5.   Safe Chain Continues Its Counterfeiting, and Attempts Another Blatant Lie
         to Cover It Up

                81.        As the reports of Safe Chain’s sales of counterfeits to pharmacies

 continued to come in, Safe Chain eventually promised Gilead that it had stopped purchasing

 from the counterfeit suppliers that Gilead knew about: Gentek, Boulevard, and Mr. Unlimited /

 Rapids Tex. But Safe Chain did not agree to stop buying and selling Gilead HIV medications




                                                    22
Case 1:21-cv-04106-AMD-RER Document 1 Filed 07/22/21 Page 23 of 44 PageID #: 23




 from illegitimate suppliers. Instead, Safe Chain came up with another scheme to cover its tracks

 and throw off Gilead’s investigation.

                82.    On an April 20, 2021 call between Gilead’s counsel and Safe Chain’s

 counsel, Safe Chain stated that it had a new source for Gilead products that was buying directly

 from Cesar Castillo LLC (“Cesar Castillo”), a Gilead authorized distributor. Gilead asked Safe

 Chain to produce pedigrees for those purchases, but Safe Chain did not do so.

                83.    On May 3, 2021, Gilead served subpoenas on Safe Chain, Boulevard, and

 Mr. Unlimited as part of an ongoing lawsuit in Florida federal court concerning fraudulent

 diversion of Gilead HIV medications (the “Florida Action”). The following day, Safe Chain’s

 counsel memorialized in a letter Safe Chain’s earlier representation that it now had a legitimate

 source for Gilead product:

           Safe Chain has begun making purchases of Gilead-branded products from a
           supplier who sourced them from Cesar Castillo (Gilead’s authorized
           distributor). As I mentioned, Safe Chain has contacted Cesar Castillo to
           verify that this supplier is not only a customer of Cesar Castillo, but also
           that their account number on file with Cesar Castillo matches the
           account number that was listed on the Cesar Castillo invoices provided
           by the supplier to Safe Chain substantiating the supplier’s purchase of
           Gilead products from Cesar Castillo. Safe Chain is willing to provide the
           list of lot numbers and expiration dates for the products which Safe Chain
           had purchased from the supplier who sourced them from Cesar Castillo, along
           with the T3 reports, provided Gilead agrees to meet the conditions below.

 (emphasis added). The “conditions” that Safe Chain demanded were untenable. They included

 “[w]ithdrawal of the Subpoena served on May 3, 2021,” and the following:

           Please provide an acknowledgement that Safe Chain has not falsified any
           of the T3 Reports previously provided to Gilead (as had been previously
           insinuated) and provide a release to Safe Chain regarding its sales of
           Gilead-branded medications. . . . if [Gilead] would like Safe Chain to
           continue voluntarily producing additional information to Gilead, it will need
           this protection in place. This is perhaps the most important requirement.”



                                                 23
Case 1:21-cv-04106-AMD-RER Document 1 Filed 07/22/21 Page 24 of 44 PageID #: 24




 (emphasis added).

                 84.     Gilead, of course, did not agree to falsely “acknowledge” that Safe Chain

 never falsified a pedigree (in fact, Safe Chain had falsified pedigrees), to withdraw the subpoena,

 or to give a blanket release of all its legal claims against Safe Chain. And so Safe Chain kept the

 identity of its new supplier secret.

                 85.     On May 28, 2021, The Medicine Shoppe, the pharmacy customer who had

 received multiple counterfeits from Safe Chain, provided Gilead copies of its communications

 with Safe Chain, including pedigrees. Among the documents were four pedigrees for Gilead

 HIV medications, including BIKTARVY®, that The Medicine Shoppe received from Safe Chain

 on April 19, 2021. Consistent with Safe Chain’s representations to Gilead, the pedigrees did

 show an initial sale to Cesar Castillo, the authorized Gilead distributor. The pedigree also

 identified Safe Chain’s new mystery supplier: Synergy Group Wholesalers LLC (“Synergy”).

 The pedigrees purport to show that Synergy purchased the Gilead HIV medications from Cesar

 Castillo and immediately sold them to Safe Chain.

                 86.     Gilead’s subsequent investigation revealed that those pedigrees are

 fraudulent, and that Safe Chain’s claim that it had verified the purchases from Cesar Castillo was

 a lie. Gilead never sold the lot numbers listed on the pedigrees to Cesar Castillo. Cesar Castillo

 has never sold Gilead products (or any other products) to Synergy, has never heard of either

 Synergy or Safe Chain, and was never contacted by Safe Chain. In fact, Cesar Castillo has never

 sold a Gilead product to another distributor, period: it sells only to pharmacies and to medical

 facilities like hospitals and clinics.

                 87.     Gilead’s investigation has further revealed that Synergy is a sketchy, fly-

 by-night operation in the same mold as Safe Chain’s other counterfeit suppliers. Synergy
                                                  24
Case 1:21-cv-04106-AMD-RER Document 1 Filed 07/22/21 Page 25 of 44 PageID #: 25




 received its pharmacy distribution license in September 2020, just months before it starting

 selling to Safe Chain. It is not licensed to sell drugs across state lines to Safe Chain’s

 warehouses, and it is not registered with the FDA. It has no website or Internet presence.

                88.     The Medicine Shoppe’s files included an additional pedigree concerning

 purchases of nearly 100 bottles of Gilead HIV medications, including BIKTARVY®, from Safe

 Chain in early March 2021. The pedigree states that Synergy purchased the drugs directly from

 Gilead. That is false. Synergy is not an authorized distributor, and it has never bought directly

 from Gilead.

                89.     Safe Chain’s flagrant lies – lying about having a “new” distributor who

 was purchasing directly from a Gilead authorized distributor, and lying about having directly

 verified those purchases with the authorized distributor – were intended to stymie Gilead’s

 investigation and to conceal Safe Chain’s continued purchase and sale of dangerous counterfeit

 Gilead HIV medications.

          E.    Additional Evidence of Safe Chain’s Willfulness

                        1.      Safe Chain Purchased and Sold the Counterfeits at an
                                Impossible Discount

                90.     Gilead sells to all its U.S. authorized distributors at a list price known as

 the wholesale acquisition cost, or WAC. But Safe Chain purchased and sold supposed Gilead

 medication from its counterfeit suppliers at prices well below WAC – meaning the drugs

 somehow got less expensive after Gilead sold them and they passed through various distributors’

 hands.

                91.     In fact, Safe Chain and Worldwide Pharma actively advertised to

 pharmacies that their sales prices were below WAC. Safe Chain and Worldwide Pharma knew

 that was an impossible discount for authentic, legitimately sold Gilead medication.

                                                   25
Case 1:21-cv-04106-AMD-RER Document 1 Filed 07/22/21 Page 26 of 44 PageID #: 26




                        2.      Safe Chain Purchased Gilead Medication with
                                Obviously Fake Pedigrees

                92.     The pedigrees that Safe Chain received from its counterfeit suppliers were

 riddled with errors and anomalies, including stating the same drug was delivered to multiple

 recipients in different states, all on the same day; indicating that a drug was sold before the

 upstream distributor even received it; and leaving multiple required fields on the pedigrees blank.

 At minimum, these errors and inconsistencies were suspect, triggering Safe Chain’s obligation

 under the DSCSA to conduct an investigation. Instead, Safe Chain sold the counterfeits to

 pharmacies.

                3.      Safe Chain Knew It Was Buying from Fly-by-Night,
                        Unlicensed, and Unauthorized Counterfeit Suppliers

                93.     All of Safe Chain’s known counterfeit suppliers – Gentek, Boulevard,

 Rapids Tex, and Synergy – are shady, fly-by-night counterfeiters who only recently opened their

 doors and lacked proper licensure and registration to sell prescription drugs across state lines.

 None of them has a website or an Internet presence. None of them are “authorized” suppliers

 under the DSCSA, and none of them can lawfully sell prescription medications.

                94.     None of the four counterfeit suppliers is registered with the FDA or has

 met its annual reporting requirements to the FDA. Moreover, none of them is licensed to sell

 pharmaceuticals in Utah or Maryland, where they shipped the counterfeit drugs to Safe Chain.

                95.     Checking to see whether a distributor is properly licensed and registered

 can be done by entering the distributor’s name into the FDA’s public online national database of

 pharmaceutical distributors, which takes seconds.

                96.     Every time Safe Chain sold a drug that it purchased from one of these

 counterfeit suppliers, Safe Chain affirmatively certified on its pedigree that it “received the


                                                  26
Case 1:21-cv-04106-AMD-RER Document 1 Filed 07/22/21 Page 27 of 44 PageID #: 27




 product from a person that is authorized as required under the Drug Supply Chain Security Act.”

 Every one of those certifications was knowingly false.

                        a.      Boulevard

                97.     Defendant Boulevard is not licensed as a pharmaceutical distributor.

 Boulevard is licensed as a retail pharmacy. All of its sales of prescription drugs to an out-of-

 state distributor like Safe Chain are illegitimate on their face.

                98.     Boulevard’s owner and principal, Defendant Shukurov, owns another

 pharmacy that is involved in a massive prescription drug fraud scheme that is the subject of a

 federal prosecution, and Shukurov is an unindicted co-conspirator in that scheme.

                99.     After its counterfeiting came to light, Boulevard abandoned its small

 offices in a condominium building in Queens and stopped answering its phones.

                        b.      Gentek

                100.    Gentek is run out of its principal’s home on a lot zoned for residential use

 in Stamford, Connecticut.

                101.    When a pharmacy reported to Safe Chain that it had sold the pharmacy a

 counterfeit bottle of Gilead HIV medication with a foreign drug inside one of its counterfeits,

 Defendant Charles Boyd, Safe Chain’s co-founder and CEO, emailed Gentek’s principal to ask

 for a refund. Charles Boyd emphasized that he was seeking a refund only for “this one bottle.”

 The supplier’s response email was as follows, with the all-caps and punctuation errors in the

 original:

                GOOD MORNING
                WILL CREDIT SAFE CHAIN FOR THE PRODUCT. PLEASE GO AHEAD
                AND DESTROY THE PRODUCT .THATS A MIXED BATCH ERROR ON
                OUR AD.

                SORRY FOR ANY INCONVENIENCE.

                                                   27
Case 1:21-cv-04106-AMD-RER Document 1 Filed 07/22/21 Page 28 of 44 PageID #: 28




                Edel Reyes
                PESIDENT

 The abbreviation “AD” stands for “authorized distributor.” The typo “PESIDENT” appears in

 the signature block of every email Gentek sent to Safe Chain.

                102.    That was the entirety of the “explanation” Safe Chain’s supplier provided

 for the counterfeit Gilead HIV medication. That “explanation” was nonsensical and betrayed

 Gentek’s startling misunderstanding of how pharmaceutical distribution works. Gilead sells to

 its authorized distributors filled, sealed, ready-to-dispense bottles of Gilead medication.

 Authorized distributors do not open or repackage those bottles. To claim that a counterfeit bottle

 containing the wrong medication is the result of an authorized distributor’s “mixed batch error”

 is an obvious and deeply concerning misrepresentation.

                103.    Despite knowing that Gentek’s explanation was clearly false, Safe Chain

 did not object. Instead, Charles Boyd of Safe Chain wrote back cheerily to inquire about his

 refund: “Thanks! Please let me know how you would like to handle the credit.”

                        c.      Rapids Tex

                104.    In order to facilitate its purchase of counterfeits from Rapids Tex, Safe

 Chain and Worldwide Pharma conspired to identify and bribe what they called a “pass-through”

 wholesaler: Mr. Unlimited.

                105.    Unlike Rapids Tex, Mr. Unlimited is an “authorized” distributor under the

 DSCSA: it has been licensed in Texas as a drug distributor since 2009, maintains a current

 registration and files annual reports with the FDA, and has an out-of-state pharmaceutical

 distributor’s license in Utah. Under the pass-through scam, Rapids Tex nominally sold to Mr.

 Unlimited, who immediately forwarded the supposed Gilead medications to Safe Chain. Rapids


                                                  28
Case 1:21-cv-04106-AMD-RER Document 1 Filed 07/22/21 Page 29 of 44 PageID #: 29




 Tex and Mr. Unlimited then papered the “pass-through” transaction by creating, after the fact,

 invoices, purchase orders, and pedigrees claiming that Mr. Unlimited purchased from Rapids

 Tex and sold to Safe Chain.

                106.   The purpose of the pass-through scam was to use Mr. Unlimited’s

 licensure to “whitewash” the pedigrees. It allowed Safe Chain to claim it was buying directly

 from a legitimate supplier (Mr. Unlimited) when in fact it was sourcing fake Gilead medications

 from the unlicensed, fly-by-night counterfeiter Rapid Tex. For its participation in the scheme,

 Mr. Unlimited was paid an up to $1500 kickback per order. Safe Chain listed that kickback as a

 separate line item on its purchase orders as “PASS THROUGH FEE.”

                107.   Safe Chain’s upper management orchestrated the pass-through scam with

 Brosius and Worldwide Pharma. Safe Chain, Worldwide Pharma, Mr. Unlimited, and Rapids

 Tex are all on numerous emails concerning the pass-through scam. When complications arose

 with the scam, Mr. Unlimited told a Safe Chain employee that he “spoke with Safe Chain’s

 owner,” and instructed Safe Chain’s representative to get the details from Worldwide Pharma.

                108.   Safe Chain’s “pass through” scam had one shortcoming: the pedigrees it

 received from Mr. Unlimited still listed the unlicensed counterfeiter Rapids Tex as an upstream

 supplier. When the patient complaints continued to roll in and Gilead’s investigation intensified,

 Safe Chain began to create new fraudulent pedigrees that simply erased Rapids Tex from the

 chain of sale completely. For example, in March 2021 Safe Chain sold several dozen bottles of

 BIKTARVY® to The Medicine Shoppe. As with several other orders, Safe Chain had ordered

 those bottles directly from Rapids Tex and caused it to be “passed through” Mr. Unlimited. And

 yet Safe Chain’s pedigree for the sale to The Medicine Shoppe fraudulently indicated that Gilead

 had sold the drugs directly to Mr. Unlimited, with no mention of Rapids Tex whatsoever.

                                                 29
Case 1:21-cv-04106-AMD-RER Document 1 Filed 07/22/21 Page 30 of 44 PageID #: 30




                109.    All of the pedigrees that Mr. Unlimited generated for Safe Chain as part of

 the pass-through scam stated that Mr. Unlimited received the drugs from Rapids Tex. The

 fraudulent pedigrees claiming that Gilead sold directly to Mr. Unlimited were created by Safe

 Chain itself, out of whole cloth.

 F.     Worldwide Pharma’s Willful Counterfeiting

                110.    Worldwide Pharma advertises itself as a marketing “sales engine” that

 connects pharmaceutical distributors with independent pharmacies. Worldwide Pharma is

 founded, owned, and operated by Brosius, who at all relevant times was and remains under

 federal indictment for health care fraud. Worldwide Pharma and Brosius conspired with Safe

 Chain to traffick the counterfeits. Worldwide Pharma and Brosius both worked directly with

 counterfeit suppliers and with unwitting customers, as well as operated behind the scenes to

 coordinate and assist Safe Chain in its willful purchase and sale of counterfeit Gilead HIV

 medications.

                111.    Worldwide Pharma and Brosius were copied on Safe Chain’s purchases of

 counterfeit Gilead HIV medications from Safe Chain’s counterfeit suppliers. Worldwide Pharma

 and Brosius marketed Safe Chain’s products – which, unbeknownst to the customers, were

 counterfeits – to pharmacies, and convinced pharmacies to buy the counterfeits from Safe Chain.

 Worldwide Pharma and Brosius also interfaced directly with pharmacies during the purchasing

 process, sending Safe Chain’s invoices and pedigrees directly to pharmacy customers, including

 pharmacy customers located in New York.

                112.    Brosius was previously the chairman of the board of an independent

 pharmacy, and was tasked with bringing the pharmacy into compliance with federal law and




                                                 30
Case 1:21-cv-04106-AMD-RER Document 1 Filed 07/22/21 Page 31 of 44 PageID #: 31




 regulations. Instead, Brosius used his position to run a vast, $35-million health care fraud

 scheme through the pharmacy.

                113.    According to the indictment, Brosius caused his former pharmacy to send

 fake “test” claims to various insurers in order to pinpoint which precise ingredients in particular

 compounded medications would result in the largest insurance payoff for the pharmacy. Brosius

 then created preprinted prescription pads that listed a handful of high-value compound

 medications that could be prescribed by checking a box. Brosius then caused a company he

 owned, Pharma Sales Group, Inc. (a predecessor to Worldwide Pharma) to hire marketers to

 recruit physicians who used virtual or remote-consultation platforms. These physicians used

 Brosius’s check-box prescription pads to prescribe unnecessary medications to patients, many of

 whom they never examined, and then sent the prescriptions to Brosius’s pharmacy to get filled.

 To prevent patients from objecting or returning the medication, Brosius caused the pharmacy to

 waive the patients’ co-insurance, and caused money orders to be forged in the amount of the co-

 pays submitted to the pharmacy. Brosius caused the pharmacy to pay a percentage of the

 insurance reimbursements to his wholly owned company.

                114.    Brosius was indicted on four counts of health care fraud as well as

 conspiracy to commit health care fraud, and payment of kickbacks in connection with a federal

 health care program, and conspiracy to violate the anti-kickback statute on or about July 10,

 2020.

                115.    Prior to the indictments, Brosius’s pharmacy hired external counsel to

 conduct an internal investigation, which ended with Brosius being instructed to resign from the

 board. Immediately after being drummed out of his pharmacy, Brosius founded Worldwide

 Pharma. Brosius is listed as the company’s registered agent and president on the corporate

                                                  31
Case 1:21-cv-04106-AMD-RER Document 1 Filed 07/22/21 Page 32 of 44 PageID #: 32




 registration, and lists the company’s business purpose as “consulting services for pharmaceutical

 dispensing.”

 G.     Boulevard and Shukurov’s Willful Counterfeiting

                116.    Boulevard sold multiple confirmed counterfeits to Safe Chain, and many

 additional bottles of Gilead HIV medications with fraudulent pedigrees that listed initial sales

 from Gilead that did not occur. Boulevard of course knew that it had not purchased the

 counterfeits from the legitimate sources it fraudulently listed on the fake pedigrees.

                117.    On May 3, 2020, Gilead served Boulevard with a federal subpoena in

 connection with an ongoing litigation in the Southern District of Florida that involves illegally

 diverted bottles of Gilead HIV medications with false pedigrees, including large quantities of

 medication purchased back from patients. Boulevard was duly served and received the

 subpoena, but chose not to respond in any way.


                                       CLAIMS FOR RELIEF

                         FIRST CLAIM FOR RELIEF
            FEDERAL TRADEMARK INFRINGEMENT (15 U.S.C. § 1114(1)(a))

                118.    Gilead realleges and incorporates by reference paragraphs 1 through 117

 of this Complaint as if fully set forth herein.

                119.    In violation of 15 U.S.C. § 1114(1)(a), Defendants, independently and in

 conspiracy with one another, used in commerce, without Gilead’s consent, either a reproduction,

 counterfeit, copy or colorable imitation of the Gilead Marks and the Gilead Trade Dress in

 connection with the sale, offering for sale, distribution, or advertising of counterfeit Gilead

 products; in connection with the sale, offering for sale, distribution, or advertising of Gilead

 products with altered and/or falsified pedigrees that are materially different from authentic

 Gilead products authorized for sale by Gilead in the United States and that are not subject to and
                                                 32
Case 1:21-cv-04106-AMD-RER Document 1 Filed 07/22/21 Page 33 of 44 PageID #: 33




 subvert Gilead’s quality-control measures; and in connection with which such use that is likely to

 cause confusion, or to cause mistake, or to deceive.

                 120.     Defendants’ actions constitute willful infringement of Gilead’s exclusive

 rights in the Gilead Marks and Trade Dress.

                 121.     Defendants are directly, contributorily, and vicariously liable for their

 infringement.

                 122.     As a direct and proximate result of Defendants’ conduct, Gilead has

 suffered irreparable harm to the valuable Gilead Marks and Trade Dress and their reputation in

 the industry. Unless Defendants are restrained from further infringement of the Gilead Marks

 and Trade Dress, Gilead will continue to be irreparably harmed.

                 123.     Gilead has no adequate remedy at law that will compensate for the

 continued and irreparable harm it will suffer if Defendants’ acts are allowed to continue.

                 124.     As a direct and proximate result of Defendants’ conduct, Gilead has

 suffered damages to the valuable Gilead Marks and Trade Dress and other damages in an amount

 to be proved at trial.

                        SECOND CLAIM FOR RELIEF
            FEDERAL TRADEMARK INFRINGEMENT (15 U.S.C. § 1114(1)(b))

                 125.     Gilead realleges and incorporates by reference paragraphs 1 through 117

 of this Complaint as if fully set forth herein.

                 126.     In violation of 15 U.S.C. § 1114(1)(b), Defendants, independently and in

 conspiracy with one another, reproduced, counterfeited, copied, or colorably imitated the

 registered Gilead Marks and Trade Dress belonging to Gilead and applied such reproduction,

 counterfeit, copy or colorable imitation to labels, signs, prints, packages, wrappers, receptacles,

 or advertisements intended to be used in commerce upon or in connection with the offering for
                                                    33
Case 1:21-cv-04106-AMD-RER Document 1 Filed 07/22/21 Page 34 of 44 PageID #: 34




 sale, distribution or advertising of counterfeit Gilead products; in connection with the sale,

 offering for sale, distribution, or advertising of Gilead products with altered and/or falsified

 pedigrees that are materially different from authentic Gilead products authorized for sale by

 Gilead in the United States and that are not subject to and subvert Gilead’s quality-control

 measures; and in connection with such use that is likely to cause confusion, to cause mistake, or

 to deceive.

                 127.     For example, and without limitation, the Defendants used counterfeit,

 reproduced, copied, or colorably imitated Gilead Marks on the labels of the counterfeit bottles of

 Gilead HIV medications they purchased, advertised, and sold, as well as on altered and/or

 falsified pedigrees for bottles of Gilead HIV medications.

                 128.     Defendants’ actions constitute willful infringement of Gilead’s exclusive

 rights in the Gilead Marks and Trade Dress.

                 129.     Defendants are directly, contributorily, and vicariously liable for their

 infringement.

                 130.     As a direct and proximate result of Defendants’ conduct, Gilead has

 suffered irreparable harm to the valuable Gilead Marks and Trade Dress and their reputation in

 the industry. Unless Defendants are restrained from further infringement of the Gilead Marks

 and Trade Dress, Gilead will continue to be irreparably harmed.

                 131.     Gilead has no adequate remedy at law that will compensate for the

 continued and irreparable harm it will suffer if Defendants’ acts are allowed to continue.

                 132.     As a direct and proximate result of Defendants’ conduct, Gilead has

 suffered damages to the valuable Gilead Marks and Trade Dress and other damages in an amount

 to be proved at trial.

                                                    34
Case 1:21-cv-04106-AMD-RER Document 1 Filed 07/22/21 Page 35 of 44 PageID #: 35




                         THIRD CLAIM FOR RELIEF
        FALSE DESCRIPTION AND DESIGNATION OF ORIGIN IN COMMERCE

                 133.    Gilead realleges and incorporates by reference paragraphs 1 through 117

 of this Complaint as if fully set forth herein.

                 134.    In violation of 15 U.S.C. § 1125(a)(1)(A), Defendants, independently and

 in conspiracy with one another, in connection with the counterfeit Gilead medication, and in

 connection with Gilead products with altered and/or falsified pedigrees that are materially

 different from authentic Gilead products authorized for sale by Gilead in the United States,

 and/or that are not subject to and subvert Gilead’s quality-control measures, used in commerce a

 slogan, trade dress, word, term, name, symbol, or device, or any combination thereof, or a false

 designation of origin, false or misleading description of fact, or false or misleading

 representation of fact, which was or is likely to cause confusion or to cause mistake, or to

 deceive as to an affiliation, connection, or association with Gilead.

                 135.    Defendants’ actions constitute willful infringement of Gilead’s exclusive

 rights in the Gilead Marks and Trade Dress.

                 136.    Defendants are directly, contributorily, and vicariously liable for their

 infringement.

                 137.    As a direct and proximate result of Defendants’ conduct, Gilead has

 suffered irreparable harm to the valuable Gilead Marks and Trade Dress and their reputation in

 the industry. Unless Defendants are restrained from further infringement of the Gilead Marks

 and Trade Dress, Gilead will continue to be irreparably harmed.

                 138.    Gilead has no adequate remedy at law that will compensate for the

 continued and irreparable harm it will suffer if Defendants’ acts are allowed to continue.



                                                   35
Case 1:21-cv-04106-AMD-RER Document 1 Filed 07/22/21 Page 36 of 44 PageID #: 36




                 139.     As a direct and proximate result of Defendants’ conduct, Gilead has

 suffered damages to the valuable Gilead Marks and Trade Dress and other damages in an amount

 to be proved at trial.

                                  FOURTH CLAIM FOR RELIEF
                                 FEDERAL FALSE ADVERTISING

                 140.     Gilead realleges and incorporates by reference paragraphs 1 through 117

 of this Complaint as if fully set forth herein.

                 141.     In violation of 15 U.S.C. § 1125(a)(1)(B), Defendants, independently and

 in conspiracy with one another, in connection with the sale of counterfeit Gilead medication, and

 in connection with the sale of Gilead products with altered and/or falsified pedigrees that are

 materially different from authentic Gilead products authorized for sale by Gilead in the United

 States and that are not subject to and subvert Gilead’s quality-control measures, used a slogan,

 trade dress, word, term, name, symbol, or device, or any combination thereof, or a false

 designation of origin, false or misleading description of fact, or false or misleading

 representation of fact, which in commercial advertising or promotion, misrepresents the nature,

 characteristics, and qualities of the counterfeit Gilead medication.

                 142.     Defendants advertised, marketed, and promoted the counterfeit Gilead

 products, and the materially different Gilead products with altered and/or falsified pedigrees, to

 the public, and/or to specific segments of the public, using the Gilead Marks and Trade Dress, as

 well as other intellectual property belonging to Gilead.

                 143.     Defendants’ actions constitute willful infringement of Gilead’s exclusive

 rights in the Gilead Marks and Trade Dress.

                 144.     Defendants are directly, contributorily, and vicariously liable for their

 infringement.
                                                    36
Case 1:21-cv-04106-AMD-RER Document 1 Filed 07/22/21 Page 37 of 44 PageID #: 37




                 145.     As a direct and proximate result of Defendants’ conduct, Gilead has

 suffered irreparable harm to the valuable Gilead Marks and Trade Dress and their reputation in

 the industry. Unless Defendants’ conduct is restrained, Gilead will continue to be irreparably

 harmed.

                 146.     Gilead has no adequate remedy at law that will compensate for the

 continued and irreparable harm it will suffer if Defendants’ acts are allowed to continue.

                 147.     As a direct and proximate result of Defendants’ conduct, Gilead has

 suffered damages to the valuable Gilead Marks and Trade Dress and other damages in an amount

 to be proved at trial.

                                   FIFTH CLAIM FOR RELIEF
                                 FEDERAL DILUTION OF MARK

                 148.     Gilead realleges and incorporates by reference paragraphs 1 through 117

 of this Complaint as if fully set forth herein.

                 149.     The Gilead Marks and Trade Dress are famous and distinctive within the

 meaning of 15 U.S.C. § 1125(c).

                 150.     Defendants are selling and/or have sold counterfeit, altered, and/or

 falsified products bearing the Gilead Marks and Trade Dress after such trademarks and trade

 dress became famous.

                 151.     By selling these products, Defendants, independently and in conspiracy

 with one another, have diluted and are diluting the distinctive quality of a mark or trade name

 owned by Gilead in violation of 15 U.S.C. § 1125(c).

                 152.     Defendants’ actions constitute willful infringement of Gilead’s exclusive

 rights in the Gilead Marks and Trade Dress.


                                                   37
Case 1:21-cv-04106-AMD-RER Document 1 Filed 07/22/21 Page 38 of 44 PageID #: 38




                 153.     Defendants are directly, contributorily, and vicariously liable for their

 infringement.

                 154.     As a direct and proximate result of Defendants’ conduct, Gilead has

 suffered irreparable harm to the valuable Gilead Marks and Trade Dress and their reputation in

 the industry. Unless Defendants’ conduct is restrained, Gilead will continue to be irreparably

 harmed.

                 155.     Gilead has no adequate remedy at law that will compensate for the

 continued and irreparable harm it will suffer if Defendants’ acts are allowed to continue.

                 156.     As a direct and proximate result of Defendants’ conduct, Gilead has

 suffered damages to the valuable Gilead Marks and Trade Dress and other damages in an amount

 to be proved at trial.

                      SIXTH CLAIM FOR RELIEF
    NEW YORK DILUTION OF MARK AND INJURY TO BUSINESS REPUTATION

                 157.     Gilead realleges and incorporates by reference paragraphs 1 through 117

 of this Complaint as if fully set forth herein.

                 158.     All of the Gilead Marks and Trade Dress are individually distinctive under

 New York General Business Law § 360-1.

                 159.     By selling counterfeit, altered, and/or falsified products bearing the Gilead

 Marks and Trade Dress, Defendants, independently and in conspiracy with one another, have

 injured and are continuing to injure Gilead’s business reputation and/or have diluted and are

 continuing to dilute the distinctive quality of a mark or trade name owned by Gilead, in violation

 of New York General Business Law § 360-1.

                 160.     As a direct and proximate result of Defendants’ conduct, Gilead has

 suffered irreparable harm to the valuable Gilead Marks and Trade Dress and their reputation in
                                                    38
Case 1:21-cv-04106-AMD-RER Document 1 Filed 07/22/21 Page 39 of 44 PageID #: 39




 the industry. Unless Defendants’ conduct is restrained, Gilead will continue to be irreparably

 harmed.

                 161.      Gilead has no adequate remedy at law that will compensate for the

 continued and irreparable harm it will suffer if Defendants’ acts are allowed to continue.

                 162.      As a direct and proximate result of Defendants’ conduct, Gilead has

 suffered damages to the valuable Gilead Marks and Trade Dress and other damages in an amount

 to be proved at trial.

                                SEVENTH CLAIM FOR RELIEF
                          NEW YORK DECEPTIVE BUSINESS PRACTICES

                 163.      Gilead realleges and incorporates by reference paragraphs 1 through 117

 of this Complaint as if fully set forth herein.

                 164.      In violation of New York General Business Law § 349, Defendants,

 independently and in conspiracy with one another, are selling, offering for sale, and/or

 distributing counterfeit, altered, and/or falsified products unlawfully bearing the Gilead Marks

 and Trade Dress.

                 165.      As a direct and proximate result of Defendants’ deceptive conduct, Gilead

 has suffered irreparable harm to the valuable Gilead Marks and Trade Dress and their reputation

 in the industry. Unless Defendants are restrained from further infringement of the Gilead Marks

 and Trade Dress, Gilead will continue to be irreparably harmed.

                 166.      Gilead has no adequate remedy at law that will compensate for the

 continued and irreparable harm it will suffer if Defendants’ acts are allowed to continue.




                                                   39
Case 1:21-cv-04106-AMD-RER Document 1 Filed 07/22/21 Page 40 of 44 PageID #: 40




                              EIGHTH CLAIM FOR RELIEF
                           COMMON-LAW UNFAIR COMPETITION

                  167.   Gilead realleges and incorporates by reference paragraphs 1 through 117

 of this Complaint as if fully set forth herein.

                  168.   In violation of the common law of the State of New York and elsewhere,

 Defendants, independently and in conspiracy with one another, have unfairly competed with

 Gilead by selling the counterfeit, altered, and/or falsified products.

                  169.   As a direct and proximate result of Defendants’ unfair competition, Gilead

 has suffered irreparable harm to the valuable Gilead Marks and Trade Dress and their reputation

 in the industry. Unless Defendants’ conduct is restrained, Gilead will continue to be irreparably

 harmed.

                  170.   Gilead has no adequate remedy at law that will compensate for the

 continued and irreparable harm it will suffer if Defendants’ acts are allowed to continue.

                  171.   As a direct and proximate result of Defendants’ unfair competition, Gilead

 has suffered damages to the valuable Gilead Marks and Trade Dress and other damages in an

 amount to be proved at trial.

                              NINTH CLAIM FOR RELIEF
                           COMMON-LAW UNJUST ENRICHMENT

                  172.   Gilead realleges and incorporates by reference paragraphs 1 through 117

 of this Complaint as if fully set forth herein.

                  173.   By selling the counterfeit, altered, and/or falsified products bearing

 Gilead’s valuable trademarks independently and in conspiracy with one another, Defendants

 have been unjustly enriched at Gilead’s expense in violation of the common law of New York

 and elsewhere.

                                                   40
Case 1:21-cv-04106-AMD-RER Document 1 Filed 07/22/21 Page 41 of 44 PageID #: 41




                174.    Under principles of equity, Gilead is entitled to restitution and/or

 disgorgement of Defendants’ ill-gotten gains.

                                     PRAYER FOR RELIEF

                WHEREFORE, Gilead demands judgment against Defendants as follows:

                A.      preliminarily and permanently enjoining, each and every one of the

 Defendants and their subsidiaries, parents, affiliates, agents, servants, employees, members,

 directors, officers, and attorneys, and those persons in active concert or participation with them:

                        (i)     from selling any Gilead medication, whether genuine or

                                counterfeit;

                        (ii)    from using any of the Gilead Marks and Trade Dress or any marks

                                confusingly similar thereto in connection with the manufacture,

                                sale, offer for sale, distribution, advertisement, or any other use of

                                medication;

                        (iii)   from using any logo, trade name, or trademark confusingly similar

                                to any of the Gilead Marks and Trade Dress, which may be

                                calculated to falsely represent or which has the effect of falsely

                                representing that the services or products of Defendants or of

                                others are sponsored by, authorized by, or in any way associated

                                with Gilead;

                        (iv)    from directly, contributorily, and vicariously infringing any of the

                                Gilead Marks and Trade Dress;




                                                  41
Case 1:21-cv-04106-AMD-RER Document 1 Filed 07/22/21 Page 42 of 44 PageID #: 42




                   (v)      from otherwise unfairly competing with Gilead in the manufacture,

                            sale, offering for sale, distribution, advertisement, or any other use

                            of Gilead medications;

                   (vi)     from falsely representing themselves as being connected with

                            Gilead or sponsored by or associated with Gilead or engaging in

                            any act which is likely to cause the trade, retailers, and/or members

                            of the purchasing public to believe that Defendants, or any of

                            them, are associated with Gilead;

                   (vii)    from using any reproduction, counterfeit, copy, or colorable

                            imitation of any of the Gilead Marks and Trade Dress in

                            connection with the publicity, promotion, sale, or advertising of

                            medications;

                   (viii)   from affixing, applying, annexing or using in connection with the

                            sale of any goods, a false description or representation including

                            words or other symbols tending to falsely describe or represent

                            such goods as being authentic Gilead medication and from offering

                            such goods in commerce;

                   (ix)     from diluting the Gilead Marks and Trade Dress;

                   (x)      from destroying any records documenting the manufacture, sale,

                            offer for sale, distribution, advertisement, or receipt of any product

                            purporting to be Gilead medication; and




                                              42
Case 1:21-cv-04106-AMD-RER Document 1 Filed 07/22/21 Page 43 of 44 PageID #: 43




                         (xi)   from assisting, aiding, or abetting any other person or business

                                entity in engaging in or performing any of the activities referred to

                                in subparagraphs (i) through (x) above; and

                  B.     ordering that, within fifteen days after the entry and service of a

 preliminary or permanent injunction, Defendants serve and file a written report under oath

 setting forth in detail the manner and form in which they have complied with the injunction; and

                  C.     ordering that all infringing material be turned over, seized, impounded,

 and/or destroyed; and

                  D.     awarding to Gilead punitive damages from each Defendant in an amount

 to be ascertained at trial, but in no event less than $25 million; and

                  E.     awarding to Gilead statutory or actual damages in an amount to be

 ascertained at trial, and costs and attorney’s fees; and

                  F.     awarding to Gilead an accounting, and an award of: (i) all ill-gotten profits

 from Defendants’ manufacture, sale, and/or distribution of the counterfeit medication; (ii)

 Gilead’s lost profits; and (iii) Gilead’s remedial costs; and

                  G.     awarding to Gilead pre-judgment and post-judgment interest; and

                  H.     awarding such other and further relief to Gilead as may be just, proper,

 and equitable.




                                                   43
Case 1:21-cv-04106-AMD-RER Document 1 Filed 07/22/21 Page 44 of 44 PageID #: 44




 Dated: July 22, 2021




                                    ___________________________
                                    Geoffrey Potter
                                    Aron Fischer
                                    Timothy A. Waters
                                    Joshua R. Stein
                                     PATTERSON BELKNAP WEBB & TYLER LLP
                                    1133 Avenue of the Americas
                                    New York, NY 10036-6710
                                    Tel:    (212) 336-2000
                                    Fax: (212) 336-2222
                                    gpotter@pbwt.com
                                    afischer@pbwt.com
                                    twaters@pbwt.com
                                    jstein@pbwt.com

                                    Attorneys for Plaintiffs Gilead Sciences, Inc. and
                                    Gilead Sciences Ireland UC




                                      44
